                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION

RYAN WEBSTER,
        Plaintiff,                             CASE NO. 20-cv-450

      v.                                       JURY TRIAL DEMANDED

METALCRAFT OF MAYVILLE, INC.,
        Defendant.


                                    COMPLAINT


                          PRELIMINARY STATEMENT

      1.      This action is brought by Plaintiff Ryan Webster for unpaid overtime

and agreed upon wages. Plaintiff Ryan Webster was employed by Defendant

Metalcraft of Mayville, Inc., at times since March 27, 2015. Defendant Metalcraft of

Mayville, Inc. has a common policy and practice of impermissibly rounding the start

and end times of its hourly employees’ work hours so as to deny such employees for

compensation for all hours worked. As a result, Defendant Metalcraft of Mayville,

Inc. has denied Plaintiff Ryan Webster overtime pay in violation of the Fair Labor

Standards Act of 1938, as amended (“FLSA”).

                          JURISDICTION AND VENUE

      2.      This Court has original jurisdiction to hear this complaint and to

adjudicate the claims stated herein under 28 U.S.C. §1331, this action being

brought under the FLSA, 29 U.S.C. §201, et seq.




           Case 2:20-cv-00450-JPS Filed 03/20/20 Page 1 of 9 Document 1
       3.        The Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. §1367, as they are so related in this action within such

original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.

       4.        Venue is proper pursuant to 28 U.S.C. §1391(b) and (c) in the U.S.

District Court for the Eastern District of Wisconsin because a substantial part of

the events or omissions giving rise to the claim occurred within the district and

Defendant Metalcraft of Mayville, Inc. has substantial and systematic contacts in

this district.

                                          PARTIES

       5.        Defendant Metalcraft of Mayville, Inc. (“Metalcraft”) is a Wisconsin

Corporation with a principal place of business located at 1000 Metalcraft Drive,

Mayville, Wisconsin 53050.

       6.        Metalcraft has three Wisconsin locations including – 1) Mayville, 2)

West Bend, and 3) Beaver Dam.

       7.        Metalcraft’s registered agent for service of process in the State of

Wisconsin is Martin A. Gallun located at 1000 Metalcraft Drive, Mayville,

Wisconsin 53050.

       8.        Plaintiff Ryan Webster (“Plaintiff”) is an adult resident of Washington

County in the State of Wisconsin.




                                     Page 2 of 9
            Case 2:20-cv-00450-JPS Filed 03/20/20 Page 2 of 9 Document 1
                              GENERAL ALLEGATIONS

       9.      Plaintiff was employed by Metalcraft as a Lead Robotic Welder and

Maintenance Worker at Metalcraft’s West Bend facility from on or around August

13, 2013 to on or around November 15, 2015.

       10.     Plaintiff opted into a collective action titled Mazurek v. Metalcraft,

Case No. 2:17-cv-01439 on March 27, 2018. Plaintiff’s consent to join filed in the

Mazurek v. Metalcraft action is attached as Exhibit A of this Complaint and is

incorporated herein.

       11.     On March 20, 2020, Richard Mazurek filed his Motion to Decertify the

Collective Class in Mazurek v. Metalcraft and asked that the Court dismiss the opt-

in Plaintiffs’ claims (including Plaintiff’s) without prejudice such that they could file

their individual complaints.

       12.     Metalcraft manufactures machined metal products at its three

Wisconsin facilities.

       13.     While employed by Metalcraft, Plaintiff was paid on an hourly basis for

Plaintiff’s work.

       14.     While employed by Metalcraft, Metalcraft agreed to pay Plaintiff a

specific hourly rate for all hours Plaintiff worked for Metalcraft.

       15.     Since March 27, 2015, Metalcraft had in effect a rounding policy

applicable to Plaintiff.

       16.     Pursuant to Metalcraft’s rounding policy, Plaintiff was permitted to

punch-in up to fourteen minutes prior to Plaintiff’s scheduled start time.




                                     Page 3 of 9
            Case 2:20-cv-00450-JPS Filed 03/20/20 Page 3 of 9 Document 1
        17.   Pursuant to Metalcraft’s rounding policy, Plaintiff’s in-punches within

the fourteen-minute pre-shift period were rounded to Plaintiff’s scheduled start

time.

        18.   Plaintiff regularly punched in prior to Plaintiff’s scheduled start time

within the fourteen-minute pre-shift period subject to Metalcraft’s rounding policy.

        19.   Plaintiff regularly began working for Metalcraft after punching in.

        20.   Plaintiff regularly performed work during the fourteen-minute pre-

shift period subject to Metalcraft’s rounding policy.

        21.   After punching in and during the fourteen-minute pre-shift period

Plaintiff regularly performed compensable work as a Lead Robotic Welder,

including discussing what needed to be done on the job for the day with a

supervisor, setting up the assembly line robots for the jobs for the day and run each

through a dry run to ensure that the robot would operate properly on the particular

parts without damaging the product, trouble-shooting any discovered problems,

performing maintenance on the robots (including checking the pressure gauges,

oiling the robots, and other regular maintenance), repairing previous welds, and

making sure the correct blue prints were being used for the day.

        22.   As a result of Metalcraft’s rounding policy, Plaintiff was not paid for

the work Plaintiff performed during the fourteen-minute pre-shift period.

        23.   If Plaintiff punched in after Plaintiff’s scheduled start time, Metalcraft

paid Plaintiff from the minute Plaintiff punched in.




                                   Page 4 of 9
          Case 2:20-cv-00450-JPS Filed 03/20/20 Page 4 of 9 Document 1
        24.   Pursuant to Metalcraft’s rounding policy, Metalcraft did not round late

in-punches in Plaintiff’s favor.

        25.   Pursuant to Metalcraft’s attendance policy, Plaintiff could be subject to

discipline, up to and including being terminated, for punching in late.

        26.   Pursuant to Metalcraft’s rounding policy, Plaintiff was permitted to

punch-out up to fifteen minutes after Plaintiff’s scheduled end time.

        27.   Pursuant to Metalcraft’s rounding policy, Plaintiff’s out-punches

within the fifteen-minute post-shift period were rounded to Plaintiff’s scheduled end

time.

        28.   If Plaintiff punched out after Plaintiff’s scheduled end time within the

fifteen-minute post-shift period subject to Metalcraft’s rounding policy, it was

because Plaintiff was performing work.

        29.   During this fourteen-minute post-shift period, Plaintiff regularly

performed compensable work. As a Lead Robotic Welder, this compensable post-

shift work included cleaning up the workstation, which was important for safety

reasons, and setting up the robot at the workstation for the next job so that the next

shift could start working right away.

        30.   If Plaintiff punched out after Plaintiff’s scheduled end time within the

fifteen-minute post-shift period subject to Metalcraft’s rounding policy and

performed work, Plaintiff was not paid for that time by Metalcraft.

        31.   If Plaintiff punched out after Plaintiff’s scheduled end time within the

fifteen-minute post-shift period, Plaintiff was performing compensable work




                                   Page 5 of 9
          Case 2:20-cv-00450-JPS Filed 03/20/20 Page 5 of 9 Document 1
including, but not limited to, cleaning his work station, which was important for the

safety of himself and his co-workers, and refilling the parts by his station on the

line.

        32.   If Plaintiff punched out prior to Plaintiff’s scheduled end time,

Metalcraft paid Plaintiff to the minute Plaintiff punched out.

        33.   Pursuant to Metalcraft’s rounding policy, Metalcraft did not round

early out-punches in Plaintiff’s favor.

        34.   Metalcraft’s rounding policy only rounded in Metalcraft’s favor.

        35.   Metalcraft’s rounding policy did not round in Plaintiff’s favor.

        36.   Metalcraft did not prohibit Plaintiff from working during the fourteen-

minutes pre-shift periods that were subject to Metalcraft’s rounding policy.

        37.   Metalcraft did not prohibit Plaintiff from working during the fifteen-

minute post-shift periods that were subject to Metalcraft’s rounding policy.

        38.   During Plaintiff’s employment, Metalcraft has suffered or permitted

Plaintiff to regularly work more than forty hours during workweeks in which

Metalcraft applied its time clock rounding policy.

        39.   As a result of applying this time clock rounding policy, Metalcraft

improperly denied Plaintiff compensation at one and one-half times Plaintiff’s

respective regular rates for hours worked in excess of forty in workweeks since

March 27, 2015.




                                   Page 6 of 9
          Case 2:20-cv-00450-JPS Filed 03/20/20 Page 6 of 9 Document 1
       40.      Since March 27, 2015, Metalcraft’s application of its time clock

rounding policy resulted in Plaintiff being suffered or permitted to perform work for

Metalcraft without compensation at Plaintiff’s agreed-upon hourly rates.

       41.      Metalcraft’s impermissible time clock rounding policy consistently

operated to the disadvantage Plaintiff.

       42.      Metalcraft’s conduct, as set forth in this complaint, was willful and in

bad faith, and has caused significant damages to Plaintiff.

                         FIRST CLAIM FOR RELIEF
       Violations of the Fair Labor Standards Act of 1938 as Amended

       43.      Plaintiff reasserts and incorporates by reference all preceding

paragraphs as if restated herein.

       44.      Since March 27, 2015, while employed by Metalcraft, Plaintiff has been

entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C.

§201 et. seq.

       45.      Since March 27, 2015, Metalcraft has been and continues to be an

enterprise engaged in commerce within the meaning of 29 U.S.C. §203(s)(1).

       46.      Since March 27, 2015, while employed by Metalcraft, Plaintiff has been

an employee within the meaning of 29 U.S.C. § 203(e).

       47.      Since March 27, 2015, Metalcraft has been an employer of Plaintiff as

provided under 29 U.S.C. § 203(d) during Metalcraft’s employment of Plaintiff.

       48.      Since March 27, 2015, while Plaintiff was employed by Metalcraft,

Metalcraft has violated the FLSA by failing to pay overtime compensation due to

Plaintiff for each hour worked in excess of forty hours in any given workweek.



                                   Page 7 of 9
          Case 2:20-cv-00450-JPS Filed 03/20/20 Page 7 of 9 Document 1
      49.    Plaintiff, is entitled to damages equal to mandated overtime premium

pay for all hours worked within the March 27, 2015, plus periods of equitable tolling

because Metalcraft acted willfully and knew or showed reckless disregard for

whether its conduct was prohibited by the FLSA.

      50.    Alternatively, should the Court find that Metalcraft did not act

willfully in failing to pay overtime premium wages, Plaintiff is entitled to an award

of pre-judgment interest at the applicable legal rate.

      51.    Pursuant to FLSA, 29 U.S.C. §216(b), successful plaintiffs are entitled

to reimbursement of the costs and attorneys’ fees expended in successfully

prosecuting an action for unpaid overtime wages, which Plaintiff seeks in this

matter.

                             REQUEST FOR RELIEF

             WHEREFORE, Plaintiff hereby requests the following relief:

      a) Issuance of an Order, pursuant to the Declaratory Judgment Act, 28
         U.S.C. §§2201-2202, declaring Metalcraft’s actions as described in the
         Complaint as unlawful and in violation of the FLSA and applicable
         regulations;

      b) An Order finding that Metalcraft violated the FLSA;

      c) An Order finding that these violations are willful;

      d) Judgement against Metalcraft in the amount equal to the Plaintiff’s
         unpaid wages at the applicable agreed-upon wage and/or overtime
         premium rates;

      e) An award in the amount of all liquidated damages and civil penalties as
         provided under the FLSA;




                                   Page 8 of 9
          Case 2:20-cv-00450-JPS Filed 03/20/20 Page 8 of 9 Document 1
      f) An award in the amount of all costs and attorney’s fees incurred
         prosecuting these claims as well as pre-judgment and post-judgement
         interest; and

      g) Such further relief as the Court deems just and equitable.

                          DEMAND FOR JURY TRIAL

      Plaintiff hereby requests a trial by jury pursuant to Fed. R. Civ. P. 38(b).


Dated this 20th day of March, 2020.

                                             Respectfully submitted,


                                             s/ Larry A. Johnson
                                             Larry A. Johnson
                                             Bar Number 1056619
                                             Summer Murshid
                                             Bar Number 1075404
                                             Timothy Maynard
                                             Bar Number 1080953
                                             Attorneys for Plaintiff

                                             Hawks Quindel, S.C.
                                             222 East Erie, Suite 210
                                             P.O. Box 442
                                             Milwaukee, WI 53201-0442
                                             Telephone: 414-271-8650
                                             Fax: 414-271-8442
                                             E-mail: ljohnson@hq-law.com
                                                     smurshid@hq-law.com
                                                     tmaynard@hq-law.com




                                 Page 9 of 9
        Case 2:20-cv-00450-JPS Filed 03/20/20 Page 9 of 9 Document 1
